      Case 19-01015-VFP          Doc 27     Filed 09/30/20 Entered 09/30/20 16:22:57               Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
Rocco Luisi, Esq.
Glenn P. Berger, Esq. (Admitted pro hac vice)
JAFFE & ASHER LLP                                                          Order Filed on September 30, 2020
445 Hamilton Avenue, Suite 405                                             by Clerk
                                                                           U.S. Bankruptcy Court
White Plains, New York 10601                                               District of New Jersey
(212) 687-3000
Attorneys for Eva Ho

In Re:                                                       Case No.:            _______________________
                                                                                       17-28372-VFP
DARREL L. MIMS, EUGENIA FRIEDMAN MIMS
                                                             Adv. No.:            _______________________
                                                                                          19-01015


                                                             Pre Trial Date:      _______________________
EVA HO
                                                             Judge:                _______________________
                                                                                       Vincent F. Papalia

                           Plaintiff(s)
v.

EUGENIA FRIEDMAN MIMS

                           Defendant(s)

                                     JOINT ORDER SCHEDULING
                                  PRETRIAL PROCEEDINGS AND TRIAL

         The relief set forth on the following pages, numbered two (2) through three (3) is hereby
         ORDERED.



         DATED: September 30, 2020
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       A pretrial conference having been scheduled pursuant to Fed.R.Civ.P 16(b) and (e), made

applicable to these proceedings by Fed.R.Bankr.P. 7016, it is


 ORDERED that


       1. All discovery is to be completed by ______________________________________.
                                                         December 31, 2020

Any motions to compel discovery are to be made so that the court can rule and the discovery can

be obtained before that date. Late filed discovery motions shall not constitute cause for an

adjournment of the scheduled trial date.


       2. All other motions shall be filed no later than _________________________________,
                                                          February 8, 2021

and returnable no later than ___________________________________.
                               March 9, 2021                      Late filed motions shall

not constitute cause for an adjournment of the scheduled trial date.


       3. ‘ (CHECK IF APPLICABLE) The parties agree to pursue mediation to attempt to

resolve disputed matters. A separate mediation order selecting a mediator and providing for a

mediation schedule shall be submitted within 14 days.


       4. Plaintiff shall file a joint stipulation of all undisputed facts and all parties shall file and

serve proposed findings of disputed facts, proposed conclusions of law, trial briefs if desired by

                                                                          April 9, 2021
the party, and binders with copies of pre-marked exhibits no later than ____________________.

The parties anticipate a trial of approximately _______________________.
                                                   3 days




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       5. All parties shall bring to the trial sufficient copies of their exhibit lists to provide two

to the court and one for each adversary. All parties shall also bring to trial a binder containing

the originals of their respective exhibits.


                                   April 28, 2021
       6. Trial will commence on __________________________________     10:00am
                                                                    at ___________ or

as soon thereafter as the matter may be heard, at:




                                       United States Bankruptcy Court

                       Address:        ______________________________
                                       50 Walnut Street

                                       ______________________________
                                       Third floor

                                       ______________________________
                                       Newark, New Jersey 07102

                       Courtroom #: ______________________________
                                    3B




       PARTIES MUST BE PREPARED TO PROCEED TO TRIAL ON THE
       SCHEDULED DATE. ADJOURNMENTS WILL BE GRANTED ONLY FOR
       COMPELLING REASONS BEYOND THE CONTROL OF THE PARTIES.
       ADJOURNMENT REQUESTS MUST BE RECEIVED NO LATER THAN THE
       THIRD BUSINESS DAY BEFORE THE SCHEDULED TRIAL DATE.




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